AFFIDAVIT OF BLAINE RUSSELL
STATE OF LOUISIANA
PARISH OF LAFOURCHE
Before me, the undersigned, a Notary Public, in and for the State and Parish aforesaid,

personally came and appeared:

BLAINE RUSSELL

Who stated under oath that he is the business operations manager for Defendant, REC
Marine Logistics, LLC, located in Lafourche Parish; and is familiar with the operations and
accounting activities of both REC and Offshore Transport Services, LLC, as REC has had
regular vessel charter activities with Offshore Transport Services, LLC. for several years;

That Offshore Transport Services, LLC, is the naked owner of the M/V Dustin Danos,
an offshore supply vessel, which charters said vessel to offshore operators in South Louisiana
and the Gulf of Mexico, under long term charter contracts; That REC normally supplies a crew
as needed under a monthly cash payment agreement;

That he is aware that OTS does not personally operate the M/V_Dustin Danos, which is
chartered for contract hire; He is also aware that Gulf Offshore Logistics, LLC, does not
participate in operation of any vessel, and does not employ or manage any vessel crew as it has
been idle and not conducting any business for several years;

Affiant is also aware that GOL, LLC has no operational or management functions for
REC or Offshore Transport Services, LLC; does not, and never has employed Griffin or other

boat crew persons, or managed any vessel, including the M/V_Dustin Danos; and it is only
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utilized to process payments for services among various parties;
That the above and forgoing is true and correct to the best of his knowledge, information,

and belief.

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( [Blaine Russell

Sworn and subscribed, before me,
the ge Notary Public.
This ‘h Day of September 2020

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My Commission is for Life

 
